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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  WALTINE NAUTA and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/


        THE UNITED STATES’ OPPOSITION TO NON-PARTY PRESIDENT-ELECT
         TRUMP’S SUPPLEMENT AND MOTION TO RECONSIDER DENIAL OF
         EMERGENCY MOTION TO ENJOIN PUBLIC RELEASE OF VOLUME I

          The United States respectfully submits this Opposition to President-elect Trump’s motion

  for emergency relief, see ECF No. 700. President-elect Trump is not a party to this action and

  therefore cannot seek injunctive relief. He has no right to participate in this action in order to seek

  relief relating to a volume of the Special Counsel’s Final Report that has nothing to do with this

  case—much less to seek that relief after this Court already denied it to the actual parties to the

  case. Although the President-elect styles his motion as a supplement to his pending motion to

  intervene, he seeks substantive relief by seeking to extend the existing injunction, an injunction

  that expires in a matter of hours. For the reasons that follow, such relief should be denied.

       1. President-elect Trump’s delay is reason alone to deny his request for relief. The President-

  elect’s request to intervene in this case has been pending for almost a week. Although his recent

  filing is styled as a supplement to his motion to intervene, the President-elect never requested

  expedition on his motion to intervene when he filed it on January 7. Moreover, the Court issued
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  its Order denying relief with respect to Volume One at 12:16 pm today. Over nine hours later,

  President-elect Trump filed an “emergency” supplement to his intervention motion, manufacturing

  an emergency that would not exist had he acted when the Court issued its Order. The request

  comes too late. Although the request is meritless, there is no excuse for waiting until the eleventh

  hour to file it, nor does the motion purport to explain why this filing comes after 9:00 pm. On

  that basis of tardiness alone it should be denied.

      2. Further, the President-elect lacks standing to obtain relief by way of an injunction. Because

  he is not a party, he has no standing to ask for emergency relief to be granted during the pendency

  of that motion. “A prospective intervenor is not a party and does not have standing to seek any

  relief other than leave to intervene.” S.E.C. v. Lauer, No. 03-80612-CIV-MARRA, 2007 WL

  1394001, at *1 (S.D. Fla. May 2, 2007); Georgia S. Univ. Hous. Found. One, LLC v. Capstone

  Dev. Corp., No. 6:11-CV-104, 2018 WL 4954079, at *8 (S.D. Ga. Oct. 12, 2018) (“JLB has not

  cited any case where a federal court found that a non-party had standing to obtain an injunction.”)

  see also Glyn v. Roy Al Boat Mgmt. Corp., 897 F. Supp. 451, 453 (D. Haw. 1995) (“Efimov is not

  a party to this action.   Therefore, the relief he seeks could only be considered if he met the

  requirements of intervention under Fed.R.Civ.P. 24. Simply filing the motion does not make him

  a party.”).

      3. Nor is intervention warranted here. The law provides for intervention in criminal cases

  only in limited circumstances. United States v. Atesiano, 2018 WL 5831092, at *2 (S.D. Fla. Nov.

  7, 2018) (citing United States v. Aref, 533 F.3d 72, 81 (2d Cir. 2008) (“Various courts have observed

  that the Federal Rules of Criminal Procedure do not provide for third-party intervention in criminal

  cases.”). Typically, intervention is permitted only where the granting of a motion in a criminal

  case would infringe on a third party’s constitutional rights. See Atesiano, 2018 WL 5831092, at



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  *2 (quoting United States v. Carmichael, 342 F. Supp. 2d 1070, 1072 (M.D. Ala. 2004)). But that

  is not the situation here. The relief sought by Defendants (and already denied by the Court) would

  have benefited the President-elect, not caused him any harm. Movant cites no case where

  intervention was permitted in this scenario. In fact, the Carmichael case relied on by President-

  elect Trump in his motion to intervene rejected intervention in an analogous situation. In that case,

  a DEA agent hoped to prevent the criminal defendant from displaying the agent’s picture on a

  website. The prosecution had itself (unsuccessfully) sought an order requiring the defendant to

  take down the site. Thus, like here, a third party sought to benefit from a motion filed in a criminal

  case. The Court rejected intervention explaining that:

           Any interest [Agent] DeJohn has in the website's removal is not based on a legal
           entitlement specifically belonging to him in Carmichael's criminal case. Rather, his
           motion to intervene is an effort to resolve what is essentially a private dispute based,
           if anything, on state law. DeJohn's allegation, that the website is not only interfering
           with his ability to pursue his profession as an undercover agent, it is putting him
           danger, may very well be actionable under Alabama law. However, intervening in
           Carmichael's federal criminal case is not an appropriate manner in which to seek
           redress for his perceived wrong; DeJohn's appropriate forum is, if anywhere, in
           state court

  Carmichael, 342 F. Supp. 2d at 1072–73. The Court noted that “[a] criminal case is not the proper

  channel for a nonparty to resolve a collateral civil dispute with a criminal defendant. Id. at 1073.

  The same is true of a third party’s attempt to resolve a collateral civil dispute with the government.

     4. In any event, none of the President-elect’s arguments regarding release of Volume One has

  merit.    The Presidential Transition Act of 1963 does not justify intervention. That statute

  “authorizes funding for the General Services Administration (GSA) to provide suitable office

  space, staff compensation, and other services associated with the presidential transition process.”

  Congressional Research Service, Presidential Transition Act: Provisions and Funding, updated

  May 22, 2024, available at https://crsreports.congress.gov/product/pdf/R/R46602.               The Act



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  contains no private right of action. Indeed, the portion of the Act invoked by the President-elect

  does not even impose binding restrictions. Section 2 provides merely that “it is the intent of the

  Congress that” federal officers “promote orderly transitions in the office of President.” 3 U.S.C.

  § 102 note (emphasis added) (Section 2 of the Presidential Transition Act).

     5.   Moreover, the President-elect cannot show that release of the Final Report would be

  contrary to the Act even if it were enforceable. The Motion for Leave to Intervene and tonight’s

  supplement asserts that “[i]ssuance and public release of the Report” would have the effect of

  “disrupting and interfering with President Trump’s transition efforts and harming the institution of

  the Presidency,” Mot. at 5, but does not specify what the disruption and interference might be. The

  letter from counsel for President-elect Trump to the Attorney General asserts that releasing the

  Special Counsel’s report to the public would “giv[e] rise to a media storm of false and unfair

  criticism that President Trump would be required to address while preparing to assume his Article

  II responsibilities,” ECF No. 679, Ex. A at 4, and further characterizes the Final Report as “an

  obvious effort to interfere with upcoming confirmation hearings.” Id. at 5. Such speculation falls

  far short of establishing that any provision of the Presidential Transition Act could not be carried

  out—or would be rendered more difficult to implement—by publication of the Final Report.

     6. The letter from counsel for the President also invokes the Appointments Clause and the

  Appropriations Clause, as well as the Special Counsel Regulations. See ECF No. 679, Ex. A at 3-

  4. But as the government explained in its recent opposition to defendants’ motion to extend the

  temporary injunction (ECF No. 690), these arguments are no longer even relevant now that the

  Special Counsel has completed his report and transmitted it to the Attorney General. All that is

  left is for the Attorney General to determine how to handle that report, and his authority in this




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  respect is clear. ECF No. 690 at 8-10. There is no constitutional or other statutory right justifying

  intervention in this criminal case.

     7. The President-elect’s supplemental motion tonight more resembles a motion for

  reconsideration of the court’s order of this afternoon. But even if he could bring such a motion,

  which he cannot, there is no basis for reconsideration. The Court was well aware of when the

  temporary injunction would expire when it issued its order today declining to extend it as to

  Volume One, and there is no legal basis raised in tonight’s supplement that meets the stringent

  standard for reconsideration. That standard requires either a change in law or manifest error.

  Neither is present here. See Michael Linet, Inc. v. Village of Wellington, 408 F.3d 757, 763 (11th

  Cir. 2005) (A motion for reconsideration cannot be used “to relitigate old matters, raise argument

  or present evidence that could have been raised prior to the entry of judgment.”).

     8. Once this Court’s temporary injunction as to Volume One of the Special Counsel’s Final

  Report expires at midnight, the Department plans to release Volume One, as well as the Special

  Counsel’s transmittal letter, the letter from counsel for President Trump, and a letter from the

  Special Counsel in response that were described in the United States’ January 12, 2025

  filing. See Dkt. 692.

     For all these reasons, this Court should deny the request to extend the temporary injunction

  with respect to Volume One.

  Dated: January 13, 2025

                                                        Respectfully submitted,

                                                        MARKENZY LAPOINTE
                                                        United States Attorney

                                                        BRIAN M. BOYNTON
                                                        Principal Deputy Assistant Attorney General
                                                        Civil Division

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                                     CERTIFICATE OF SERVICE

         I hereby certify that on January 13, 2025, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission

  of Notices of Electronic Filing.


                                        /s/ Elizabeth J. Shapiro
                                        Elizabeth J. Shapiro




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